                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION


UNITED STATES OF AMERICA                               )
                                                       )
v.                                                     )     NO. 3:11-00194
                                                       )     JUDGE CAMPBELL
JESSIE LEE ALLEN, et al.                               )


                                               ORDER

       The Court held a Pretrial Conference on September 25, 2012 during which the parties

were given an opportunity to comment on pending motions, and the parties have filed responses

and replies. The Court rules on the following pending motions as set forth herein.

       Through the Motion to Prohibit Use of Prior Record (Docket No. 736), Defendant Smith

seeks to prohibit the Government from cross examining him about his prior convictions if he

testifies at trial. In its Response (Docket No. 779), the Government argues that the Defendant’s

prior convictions for facilitation of a robbery and his drug convictions are admissible under Fed.

R. 609 for impeachment. The Motion is RESERVED for decision and will be ruled upon if

Defendant Smith exercises his right to testify at trial.

       The Government’s First Motion in Limine Regarding Corrupt Law Enforcement Officer,

John Edwards (Docket No. 728) seeks to exclude any evidence and argument regarding former

Wilson County Sheriff’s Deputy John Edwards’ participation in the investigation of Defendant

Smith. The Defendant has filed a Response (Docket No. 821) to the Motion, and the

Government has filed a Reply (Docket No. 832). Through its filings, the Government represents

that Mr. Edwards will not be a witness at the trial; was not present for any of the drug purchases

from the Defendant; was arrested on April 18, 2011, well before drugs were seized from the




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Defendant’s residence on September 16, 2011; and had no involvement with respect to the

purchase or chain of custody of the drug evidence to be introduced at trial. On the other hand,

the Defendant has not articulated how evidence relating to Mr. Edwards is relevant to the issues

at trial. Accordingly, the Government’s Motion is GRANTED. Provided, however, that the

Defendant may move for reconsideration of this ruling at trial after providing prior notice to the

Government.

       It is so ORDERED.


                                                     ____________________________________
                                                     TODD J. CAMPBELL
                                                     UNITED STATES DISTRICT JUDGE




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